                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NORTHEASTERN DIVISION


DAVID CHERRY, Personal Representative )
of the ESTATE OF PAMELA CHERRY, )
DECEASED,                             )
                                      )
             Plaintiff,               )
                                      )              CASE NO. 2:12-cv-00043
        vs.                           )
                                      )
MACON HOSPITAL, INC. d/b/a MACON )
COUNTY GENERAL HOSPITAL,              )
HANNA C. ILIA, M.D., JAMES BARLOW,)
JIMMY PHILPOTT, TOWN OF CELINA, )
TENNESSEE, and CLAY COUNTY E911 )
BOARD,                                )
                                      )
             Defendants.              )

       PLAINTIFF, DAVID CHERRY, PERSONAL REPRESENTATIVE OF THE
          ESTATE OF PAMELA CHERRY, DECEASED’S, RESPONSE TO
           DEFENDANTS JAMES BARLOW AND JIMMY PHILPOTTS’
                    MOTION FOR SUMMARY JUDGMENT

       Plaintiff, David Cherry, Personal Representative of the Estate of Pamela Cherry,

Deceased, respectfully submits his Response to Defendants James Barlow and Jimmy Philpotts’

Motion for Summary Judgment. After careful review, Plaintiff must acknowledge in good faith

that he cannot provide facts or authority that support the assertion that Mr. Barlow’s and Mr.

Philpotts’ conduct, even if grossly negligent, rose to the level of willful, malicious, or criminal,

or that the conduct was performed for personal financial gain as required by Tennessee Code

Annotated § 29-20-310(c).      See also Hill v. Germantown, 31 S.W.3d 234 (Tenn. 2010).

Accordingly, Plaintiff agrees that James Barlow and Jimmy Philpott are entitled to total personal

immunity and would consent to this Court issuing an Order so finding and dismissing James




Case 2:12-cv-00043         Document 180        Filed 01/10/14      Page 1 of 4 PageID #: 1373
Barlow and Jimmy Philpott from this case with prejudice. Plaintiff, however, continues to assert

his claims against the Town of Celina, Tennessee, which has not moved for summary judgment.

                                                   Respectfully submitted,

                                                   WILSON KEHOE WININGHAM LLC

                                                   s/D. Bruce Kehoe__________
                                                   D. Bruce Kehoe
                                                   Indiana Attorney #5410-49
                                                   Kelly M. Scanlan
                                                   Indiana Attorney #25779-49
                                                   WILSON KEHOE WININGHAM LLC
                                                   2859 North Meridian Street
                                                   Indianapolis, IN 46208
                                                   Tel (317) 920-6400
                                                   Fax (317) 920-6405
                                                   E-mail kehoe@wkw.com
                                                   E-mail kscanlan@wkw.com

                                                   Joe Bednarz, Sr.
                                                   BEDNARZ & BEDNARZ
                                                   Suite 2100, Parkway Towers
                                                   404 James Robertson Parkway
                                                   Nashville, TN 37219-1505
                                                   Tel (615) 256-0100
                                                   Fax (615) 256-4130
                                                   E-mail Joe@BednarzLaw.com

                                                   Attorneys for Plaintiff




                                               2


Case 2:12-cv-00043        Document 180       Filed 01/10/14     Page 2 of 4 PageID #: 1374
                                CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of January, 2014, I electronically filed the foregoing

with the Clerk of the Court using the EM/ECF system which sent notification of such filing to

the following:

Reba Brown
rbrown@lewisking.com

Maryann Stackhouse
mstackhouse@lewisking.com

Phillip North
pnorth@nprjlaw.com

Michael F. Jameson
mjameson@nprjlaw.com

Brent A. Kinney
bkinney@nprattorneys.com

John F. Floyd
johnfloyd@toddfloyd.com

Lisa M. Carson
lcarson@buergerlaw.com

Daniel H. Rader III
danrader@moorerader.com

Daniel H. Rader IV
danny@mooreraderfitzpatrick.com

Joe Bednarz Sr.
joe@bednarzlaw.com




                                                3


Case 2:12-cv-00043        Document 180        Filed 01/10/14      Page 3 of 4 PageID #: 1375
                                         s/D. Bruce Kehoe__________
                                         D. Bruce Kehoe
                                         Indiana Attorney #5410-49
                                         WILSON KEHOE WININGHAM LLC
                                         2859 North Meridian Street
                                         Indianapolis, IN 46208
                                         Tel (317) 920-6400
                                         Fax (317) 920-6405
                                         E-mail kehoe@wkw.com
                                         Attorney for Plaintiff




                                     4


Case 2:12-cv-00043   Document 180   Filed 01/10/14   Page 4 of 4 PageID #: 1376
